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                                                                                                               JS-6
                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                            CIVIL MINUTES - GENERAL
    Case No.       SACV 13-1125-GW(AJWx)                                               Date      September 17, 2013
    Title          Surat Singh v. Bank of America, et al.




    Present: The Honorable         GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                                  None Present
                 Deputy Clerk                            Court Reporter / Recorder                     Tape No.
                Attorneys Present for Plaintiffs:                          Attorneys Present for Defendants:
                         None Present                                                None Present
    PROCEEDINGS (IN CHAMBERS):                        RULING ON DEFENDANT BANK OF AMERICA,
                                                      N.A.'S MOTION TO DISMISS PLAINTIFF'S
                                                      COMPLAINT PURSUANT TO FEDERAL RULE OF
                                                      CIVIL PROCEDURE 12(B)(6) [11]


            Defendant Bank of America, NA (“Defendant”) moves to dismiss this action both by way of
Colorado River1 abstention and because of defects it perceives in the allegations supporting the claims
which plaintiff Surat Singh (“Plaintiff”) raises in connection with his Complaint. The Court advances and
vacates the September 23, 2013, hearing set for resolution of this motion, and instead rules on the papers.


            Although the Court might question whether Colorado River abstention is appropriate in the
circumstances of this case, see Colorado River Water Conservation Dist. v. United States, 424 U.S. 800,
813, 817-18 (1976), Plaintiff – though represented by counsel – has not opposed the motion. Local Rule
7-12 of this Court provides, in part, that “[t]he failure to file any required document, or the failure to file
it within the deadline, may be deemed consent to the granting or denial of the motion.” C.D. Cal. L.R. 7-




1
    Colorado River Water Conservation Dist. v. United States, 424 U.S. 800 (1976).


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                                                                     Initials of Preparer   JG
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                                  UNITED STATES DISTRICT COURT
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12.2 Accordingly, the Court considers Plaintiff to have consented to dismissal of the action. The Court
therefore dismisses Plaintiff’s action with prejudice, except insofar as he seeks to add his allegations in this
action to his currently-pending state court proceeding.




2
 Though ordered to provide an electronic form of his Complaint, see Docket No. 10, Plaintiff failed to do so and, hence, this
Court does not have a copy of said complaint. His failure would have made it impos-sible to rule on the “merits” of this
motion had he actually opposed the motion.
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                                                                     Initials of Preparer      JG
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